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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al,                 §
          Plaintiffs,                         §
                                              §
v.                                            §           No. 4:16-cv-01414
                                              §
HARRIS COUNTY , TEXAS, et al.,                §
           Defendants.                        §



                         CLASS MEMBER GILBERT MORALES
                           NOTICE OF INTENT TO APPEAR


       Pursuant to the Court’s October 14, 2019, order [Doc. 662], Class Member Gilbert Morales

desires to speak at the fairness hearing on October 28, 2019. Undersigned counsel will be the

designated speaker.


                                                   Respectfully submitted,

                                                        /s/ Ken W. Good
                                                   Ken W. Good
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                                                   COUNSEL FOR CLASS               MEMBER
                                                   GILBERT MORALES




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                                 CERTIFICATE OF SERVICE

       I hereby certify ON THE 21ST DAY OF October 2019, I electronically filed the forgoing with

the Clerk of the Court for the United States District Court for the Southern District of Texas, using

the electron case filing system of the Court. The electronic case filing system sent a “Notice of

Electron Filing” to the attorneys of record who have consented in writing to accept this Notice as

service of this document by electronic means.




                                                        /s/ Ken W. Good
                                                      KEN W. GOOD




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